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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION


   JANE DOE, et al.,                                      )
                                                          )
                                  Plaintiffs,             )
                                                          )
                             v.                           )        No. 1:22-cv-01281-TWP-MJD
                                                          )
   NETFLIX, INC., et al.,                                 )
                                                          )
                                  Defendants.             )




                                     ORDER ON MOTION TO SEAL

          This matter is before the Court on Defendants' Motion to Seal, [Dkt. 250]. For the

   reasons set forth below, the motion is GRANTED.

                                                I. Discussion

          "Documents that affect the disposition of federal litigation are presumptively open to

   public view, even if the litigants strongly prefer secrecy, unless a statute, rule, or privilege

   justifies confidentiality." In re Specht, 622 F.3d 697, 701 (7th Cir. 2010). This long-standing

   presumption of public access may be rebutted only under certain circumstances. Goesel v. Boley

   Int'l (H.K.) Ltd., 738 F.3d 831, 832 (7th Cir. 2013). Still, "very few categories of documents are

   kept confidential once their bearing on the merits of a suit has been revealed." Baxter Int'l, Inc. v.

   Abbott Labs., 297 F.3d 544, 547 (7th Cir. 2002). A party may therefore only file a document

   under seal if it has "good cause" to do so. Citizens First Nat'l Bank of Princeton v. Cincinnati

   Ins. Co., 178 F.3d 943, 945 (7th Cir. 1999). In the Southern District of Indiana, the filing of

   documents under seal is governed by Local Rule 5-11.
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          On February 1, 2024, Defendants filed the instant motion, seeking to maintain Docket

   Nos. 249 and 249-1 through 249-4 under seal. [Dkt. 250.] In their motion, Defendants identified

   Plaintiffs as the designating party pursuant to Local Rule 5-11(d)(2)(A). Plaintiffs provided a

   supplemental brief with the redacted versions of the documents at Docket Nos. 251-1 through

   251-5. The Court finds good cause for sealing and that the documents are redacted appropriately.

   As such, the motion with regard to Docket Nos. 249, 249-1, 249-2, 249-3, and 249-4 will be

   GRANTED.

                                            II. Conclusion

          For the reasons set forth above, Defendants' Motion to Seal, [Dkt. 250], is GRANTED.

   The Clerk shall PERMANENTLY SEAL Docket Nos. 249, 249-1, 249-2, 249-3, and 249-4.

          SO ORDERED.



          Dated: 15 MAR 2024




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